1844 ev, BASE 8:25-CV-00073-WFJ-NHACT WPEUME WER SHOP 1/10/25

Page 1 of 1

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The JS 44 civil cover shect and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court, This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

James Charles Pistorino

(b) County of Residence of First Listed Plaintiff Pinellas County
(EXCEPT IN U.S. PLAINTIFF CASES)

DEFENDANTS

(c) Attorneys (Firm Name, Address, and Telephone Number)
pro se, 8270 Woodland Ctr Blvd, Tampa, FL 33614

(650) 400-0043

NOTE: INLAND C

THE TRAC

Attorneys (/f Known)

County of Residence ANA

United States Department of Health & Human Services

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La,
ASES, USE-THE BRenonor

Roger B. Handberg, United States Attorney

II. BASIS OF JURISDICTION (Place an “x” in One Box Only)

(For Diversity Cases Only)

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff

and One Box for Defendant)

[_]1 U.S. Government (_]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S, Government Not a Party) Citizen of This State [-]1  [_] 1 Incorporated or Principal Place []4 (Ja
of Business In This State
[x] 2 U.S. Government []4 Diversity Citizen of Another State C] 2 CL 2. Incorporated and Principal Place LC] 5 LC] 5
Defendant (Indicate Citizenship of Parties in Item HI) of Business In Another State
Citizen or Subject of a LJ 3 C 3 Foreign Nation L] 6 L] 6
Foreign Country
IV. NATURE OF SUIT (Ptace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions,
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane C] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability 7 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability C 367 Health Care/ INTELLECTUAL |_| 400 State Reapportionment
[_]150 Recovery of Overpayment |] 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS __| | 410 Antitrust
& Enforcement of Judgment Slander Personal Injury | 820 Copyrights 430 Banks and Banking
151 Medicare Act |_| 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
4 152 Recovery of Defaulted Liability [_] 368 Asbestos Personal ~ 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketcer Influenced and
(Excludes Veterans) 345 Marine Product Liability [_] 840 Trademark Corrupt Organizations
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR [] 880 Defend Trade Scerets |] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[_] 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act |_] 485 Telephone Consumer
(| 190 Other Contract Product Liability [ ] 380 Other Personal |_| 720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
- 196 Franchise Injury C] 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) H 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange

Medical Malpractice

Leave Act
790 Other Labor Litigation

|_| 290 All Other Real Property

445 Amer. w/Disabilities -
Employment

446 Amer. w/Disabilities -
Other

448 Education

REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS
|__| 210 Land Condemnation 440 Other Civil Rights Habeas Corpus:
[_] 220 Foreclosure 441 Voting [_] 463 Alien Detainee
[| 230 Rent Lease & Ejectment 442 Employment | | 510 Motions to Vacate
|_| 240 Torts to Land 443 Housing/ Sentence
245 Tort Product Liability Accommodations | | 530 General

|_| 535 Death Penalty

Other:

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

791 Employee Retirement
Income Security Act

IMMIGRATION

864 SSID Title XVI
865 RSI (405(g))

|_| 890 Other Statutory Actions

FEDERAL TAX SUITS

870 Taxes (U.S. Plaintiff
or Defendant)

871 IRS—Third Party
26 USC 7609

462 Naturalization Application
465 Other Immigration
Actions

|_| 891 Agricultural Acts
| | 893 Environmental Matters
895 Freedom of Information
Act
896 Arbitration
| 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
|_| 950 Constitutionality of
State Statutes

V. ORIGIN (Place an “X" in One Box Only)

1 Original
Proceeding

2 Removed from
State Court

3

Remanded from
Appellate Court

Reopened

C4 Reinstated or Oo 5 Transferred from Cl 6 Multidistrict
Another District

(specif)

Transfer

Litigation -

Cl 8 Multidistrict
Litigation -
Direct File

VI. CAUSE OF ACTION

5 USC 552

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):

Brief description of cause:
Freedom of Information Act case seeking production of documents

VII. REQUESTED IN
COMPLAINT:

(_] CHECK IF THIS
UNDER RULE 2

IS A CLASS ACTION
3, F.R.Cv.P.

DEMAND $

CHECK YES only if demanded in complaint:

JURY DEMAND:

[ly¥es [x] No

VII. RELATED CASE(S)

IF ANY

(See instructions):

JUDGE ae DOCKET NUMBER
DATE SIGNATURE a ORNEY ECORD
/ } l 6) a 4 2. en
FOR OFFICE USE ONLY !
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

